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                                  August 14, 2023


VIA EM/ECF
Molly C. Dwyer
Clerk of the Court
United States Court of Appeals
for the Ninth Circuit
95 Seventh Street
San Francisco, CA 94103

      Re:    Hecox, et al. v. Little, et al.
             Appeal Nos. 20-35813 and 20-35815

Dear Ms. Dwyer,

In Plaintiff-Appellee’s July 31 letter, Hecox cites Doe v. Horne, No. CV-23-00185-
TUC-JGZ, 2023 WL 4661831 (D. Ariz. July 20, 2023), saying it “provides further
support” for Hecox’s arguments. Dkt. 216-1. It does not.

First, Horne incorrectly applied the intermediate-scrutiny standard, asking whether
the law furthers state interests when applied to a particular plaintiff rather than
whether it substantially furthers state interests more broadly. That contradicts
binding circuit and Supreme Court precedent. Dkt. 33 at 18–39; Dkt. 111 at 12–15.

Second, Horne is distinguishable. As Hecox concedes, the athletes in Horne challen-
ged Arizona’s Save Women’s Sports Act as applied to them. Dkt. 216-1. And neither
athlete had experienced male puberty—nor would they. Horne, at *1, *4–5. One was
11, had been monitored for signs of puberty and prescribed puberty blockers, and
had “not and [would] not experience any of the physiological changes that increased
testosterone levels would cause in a pubescent boy.” Id. at *4, *13. The other was
15, had taken puberty blockers since 11, and had “not experienced the physiological
changes that increased testosterone levels would cause in a pubescent boy.” Id. at
*5, *14.

Those facts were dispositive. The court referenced “puberty” close to 70 times in its
opinion, finding the act unconstitutional as applied to those two athletes because “no
empirical evidence in the record” showed that males “who have not experienced
puberty, have any physiological advantages over other girls.” Id. at *18.
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In contrast, Hecox has experienced male puberty—with its accompanying physiolog-
ical advantages—and did not start medically transitioning until college. 4-ER-679–
80, 5-ER-769. Hecox also did not allege any earlier efforts to offset puberty’s effects.

In fact, Hecox has conceded that “going through endogenous puberty” causes
“permanent physical changes.” 5-ER-791–92. So while Horne disregarded expert
evidence about how such changes “are not reversed by testosterone suppression
after puberty or are reduced only modestly, leaving a large advantage over female
athletes,” Horne, at *10, the same expert evidence is dispositive here, 3-ER-423–87.

Thus, Horne applied the wrong legal standard and does not control the very
different facts presented here.

                                        Respectfully Submitted,

                                        s/ Christopher P. Schandevel
                                        Christopher P. Schandevel
                                        Counsel for Intervenors-Appellants

cc: Counsel of Record via CM/ECF
